Case 2:23-cv-00692-JDC-TPL               Document 39          Filed 10/10/23        Page 1 of 2 PageID #:
                                               2602


                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                               LAKE CHARLES DIVISION

 THE STATE OF LOUISIANA,
 By and through its Attorney General, Jeff
 Landry,

                                          PLAINTIFF,

 v.

 UNITED STATES ENVIRONMENTAL                              CIVIL ACTION NO. 2:23-cv-00692
 PROTECTION AGENCY; et al.,

                                       DEFENDANTS.



                      LOUISIANA’S REQUEST FOR JUDICIAL NOTICE

        Pursuant to Fed. R. Evid. 201, the State of Louisiana requests the Court take judicial notice of

EPA’s October 3, 2023, acceptance for investigation of a Title VI complaint alleging only disparate

impact by facially non-discriminatory policies. True and accurate copies of the complaint and EPA’s

acceptance letter—as obtained from EPA’s Civil Rights Docket website—are attached as Exhibits A

and B, respectively. 1 Those facts further undermine Defendants’ assertions of mootness and

underscore that the State continues to face a credible threat of enforcement of Defendants’ Title VI

disparate-impact regulations. See, e.g., Parents Involved in Community Schools v. Seattle Sch. Dist. No. 1, 551

U.S. 701, 719-20 (2007); Seals v. McBee, 898 F.3d 587, 592 & n.9 (5th Cir. 2018) (“Whether the

government disavows prosecution is a factor in finding a credible threat of prosecution,” as is

“evidence of other enforcement actions that are currently being pursued”).




        1 https://www.epa.gov/system/files/documents/2023-03/03R-23-R4%20Complaint_Redacted.pdf

         https://www.epa.gov/system/files/documents/2023-10/2023.10.03_rec_acc_ltr_03r-23-r4_adem.pdf


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Case 2:23-cv-00692-JDC-TPL               Document 39          Filed 10/10/23         Page 2 of 2 PageID #:
                                               2603


        Judicial notice is appropriate because the complaint, EPA’s acceptance of that complaint for

investigation, and the contents of those documents are “not subject to reasonable dispute,” and those

facts “can be accurately and readily determined from sources whose accuracy cannot reasonably

questioned,” i.e., EPA’s website. Fed. R. Civ. P. 201(b)(2); see also, e.g., Funk v. Stryker Corp., 631 F.3d

777, 781, 783 (5th Cir. 2011) (finding no error in district court’s taking judicial notice of “publicly

available letter” from FDA that had legal significance); Kitty Hawk Aircargo, Inc. v. Chao, 418 F.3d 453,

457-58 (5th Cir. 2005) (taking judicial notice of fact ascertainable from federal agency’s website). For

the avoidance of doubt, Louisiana asks only for judicial notice of the complaint, EPA’s acceptance

letter, and the contents thereof, not the truth of the assertions therein. See Rollins v. St. Jude Medical,

583 F. Supp. 2d 790, 804-05 (W.D. La. 2008) (James, J.).



Dated: October 10, 2023                                  Respectfully submitted,

                                                         By:/s/ Joseph Scott St. John
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